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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


WILLIAM H. BOADA, ET AL.                           CIVIL ACTION

VERSUS                                             NO. 12-3008
                                                   C/W 13-243
                                                   Pertains to:
                                                   ALL CASES

JOHN YOUNG, ET AL.                                 SECTION: “B”(5)

                           ORDER AND REASONS

Nature of Motion and Relief Sought:

     Before the Court is Defendants' 12(b)(1) Motion to Dismiss

for Lack of Subject Matter Jurisdiction (Rec. Doc. No. 40). In

response, Plaintiffs filed an Opposition to Defendants' Motion.

(Rec. Doc. No. 42). Oral arguments were heard by the Court on May

29, 2013. (Rec. Doc. No. 48). Parties then submitted Supplemental

Memorandums. (Rec. Doc. No. 49 and 50).

     Defendants make four primary arguments as to why the Court

is deprived of jurisdiction to hear this case. First, they argue

that the substance of Plaintiffs' claims do not give rise to

Constitutional violations, necessitating dismissal for lack of

subject matter jurisdiction under Fed. R. Civ. P. 12(b)(1). (Rec.

Doc. No. 50 at 7-8).    Second, Defendants argue Plaintiffs lack

standing to assert claims on behalf of public housing tenants.

Third, Defendants contend that Plaintiffs' claims for injunctive


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relief are moot.   Fourth, Defendants argue that the Court should

abstain from judgement because "difficult questions of state law"

are at issue. (Rec. Doc. No. 50 at 4) (citing Burford v. Sun Oil

Co., 319 U.S. 315 (1943)). Accordingly, and for the reasons

articulated below,

     IT IS ORDERED that Defendants' Motion to Dismiss (Rec. Doc.

No. 40) is DENIED without prejudice to reurge in the context of a

summary judgement motion on all outstanding claims, with

supportive documentation.


Cause of Action and Facts of the Case:

     Plaintiffs' are former members of the Jefferson Parish

Housing Authority (JPHA). They allege that Defendants, members of

the Jefferson Parish Counsel, improperly removed them from their

positions as JPHA members. They claim violations of the United

States Constitution and the Louisiana State Constitution, and

seek injunctive and monetary relief.

     The procedural history in the case thus far is extensive,

and does not bear heavily on the instant motion. Thus, it is only

recounted briefly here. Plaintiffs instituted the instant case on

December 19, 2012 following their removal by Parish President

John Young from their positions as JHPA Commissioners. (Rec. Doc.

No. 1). As the matter was pending before this Court, on January

27th, 2013, the Parish of Jefferson filed a temporary restraining



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order in the 24th Judicial District Court of the Parish of

Jefferson to enjoin Plaintiffs from participating in JPHA

meetings or acting as JPHA Commissioners. (CA 13-243, Rec. Doc.

No. 1-2). On February 7, 2013, Defendants filed a Notice of

Removal for the state court action based on supplemental

jurisdiction of the already pending action before this Court. On

February 21, 2013, the two pending Federal actions were

consolidated. (Rec. Doc. No. 17). Also on February 21, 2013, this

Court granted a Temporary Restraining Order enjoining the

Commissioners from appearing at JPHA Board Meetings until March

1, 2013 - the date on which a hearing was to be held before the

Jefferson Parish Council on whether the removal of Plaintiffs

from their offices was proper. (Rec. Doc. No. 18) (citing La.

R.S. 40:537).

     On March 1st and 4th, 2013, the Jefferson Parish Council

held a hearing on Plaintiffs' appeal. (Rec. Doc. No. 25 at 2).

At the conclusion of that hearing, the Defendants voted to uphold

Parish President John Young's removal of Plaintiffs for neglect

of duty. (Rec. Doc. No. 25 at 3). Subsequently, on March 14,

2013, the former commissioners brought a Motion for a Temporary

Restraining Order and Preliminary Injunction before this Court

alleging that the Council made the decision in an illegal

executive session that was in violation of the Louisiana Open

Meetings Law. (Id.). Plaintiffs further requested that the


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Defendants be restrained from: (1) appointing any Commissioners

on the JPHA Board to replace Plaintiffs, or (2) interfering with

Plaintiffs' performance of their functions as duly-appointed

Commissioners of the JPHA Board at regularly scheduled meetings.

(Rec. Doc. No. 25). This Court denied the motion. (Rec. Doc. No.

28). New commissioners were then appointed and the JPHA elected

an acting chairman and acting vice chairman at its monthly

meeting. (Rec. Doc. No. 40-1 at 4).

     On April 16, 2013, Defendants filed this Motion to Dismiss

for lack of subject matter jurisdiction. (Rec. Doc. No. 40).

Subsequently, Plaintiff Boada requested dismissal from the case,

which was granted (Rec. Doc. No. 56). All other Plaintiffs'

claims remain before the Court.

Law and Analysis:

I. 12(b)(1) Motion To Dismiss

     A 12(b)(1) motion to dismiss for lack of subject matter

jurisdiction questions the authority of a federal court to hear

the action before it. Chatham Condo. Associations v. Century

Vill., Inc., 597 F.2d 1002, 1012 (5th Cir. 1979). In order to

ensure the court does not pass judgement on issues it has no

jurisdiction over, the court must make an initial inquiry into

the facts of a case to determine if it has authority over the

matters to be litigated. Moran v. Kingdom of Saudi Arabia, 27

F.3d 169, 172 (5th Cir. 1994).     At the onset of this inquiry,


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"[t]he burden of proof . . . is on the party asserting

jurisdiction." Ramming v. United States, 281 F.3d 158, 161 (5th

Cir. 2001) and the jurisdictional facts pled are entitled to no

presumption of truthfulness if challenged. Chatham Condo.

Associations v. Century Vill., Inc., 597 F.2d 1002, 1012 (5th

Cir. 1979). However, this is not to suggest that the burden to

establish jurisdiction is demanding. In cases where "issues of

fact are central both to subject matter jurisdiction and the

claims on the merits . . . the trial court must assume

jurisdiction and proceed to the merits." Montez v. Dep't of Navy,

392 F.3d 147 (5th Cir. 2004); see also       Steel Co. v. Citizens for

a Better Env't, 523 U.S. 83, 89 (1998) (stating "[i]t is firmly

established in our cases that the absence of a valid (as opposed

to arguable) cause of action does not implicate subject-matter

jurisdiction . . .”).    Ultimately, "[a] Rule 12(b)(1) motion

should be granted only 'if it appears certain that the plaintiff

cannot prove a plausible set of facts that establish subject-

matter jurisdiction.'" Davis v. United States, 597 F.3d 646, 649

(5th Cir. 2009) (quoting Castro v. United States, 560 F.3d 381,

386 (5th Cir. 2009)).

     Challenges to subject matter jurisdiction brought under

12(b)(1) are to be distinguished from challenges under 12(b)(6)

for failure to state a claim. Under 12(b)(6), the Court must

determine "whether a cognizable legal claim has been stated." 5B


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Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure § 1350 (3d ed.)     A motion under 12(b)(1), by contrast,

only requires a determination as to "whether the plaintiff has a

right to be in the particular court." Id. Thus, when a "challenge

to the court's jurisdiction is also a challenge to the existence

of a federal cause of action, the proper course of action . . .

is to find that jurisdiction exists and deal with the objections

as a direct attack on the merits . . . under either Rule 12(b)(6)

or Rule 56." Montez, 392 F.3d at 150 (quoting Williamson v.

Tucker , 645 F.2d 404, 415 (5th Cir. 1981)). To proceed otherwise

would allow a party to "indirectly" challenge the merits of a

case, and fail to provide "protection[s] to the plaintiff who in

truth is facing a challenge to the validity of his claim."

Williamson, 645 at 415; see also Oneida Indian Nation of N. Y.

State v. Oneida Cnty., New York, 414 U.S. 661, 666-67 (1974)

(dismissal for lack of subject matter jurisdiction improper when

plaintiff's "assertion that they had a federal right . . . cannot

be said to be so insubstantial, implausible, foreclosed by prior

decisions . . . or otherwise completely devoid of merit as not to

involve a federal controversy . . .").

     Here, Plaintiffs' have pled sufficient facts to meet their

burden of establishing federal subject matter jurisdiction. Their

complaint alleges several federal causes of action, including

depravation of a number of Constitutional rights. (Rec. Doc. No.


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1 at 19-23). The claims plausibly assert a basis for invoking the

Court's subject matter jurisdiction. Thus, Defendants' 12(b)(1)

motion must be denied. Davis, 597 F.3d at 649.

     However, the Court does note that facts at this stage of the

case do not appear contested. Both parties agree that the JPHA

members were removed from office, and largely agree on what

process was used to removed them. The only questions remaining

are issues of law – whether Plaintiffs were protected by certain

Constitutional guarantee and whether Defendants acted to deny

them any Constitutional rights. Therefore, Defendants should

reurge their request to dismiss the instant case in the context

of a summary judgement motion, with supportive documentation.

This will allow the Court to determine what, if any, judgement as

a matter of law is appropriate. Montez, 392 F.3d at 150.

II. Standing to Assert the Claims of Public Housing Tenants

     Defendants aver that the Plaintiffs have improperly

attempted to assert the rights of public housing tenants in their

complaint. (Rec. Doc. No. 12). The Court is unclear as to

Defendants' contentions in this regard. In reviewing Plaintiffs'

complaint, it is apparent that the allegations brought by

Plaintiffs assert their own constitutional rights, not the rights

of third-parties. See (Rec. Doc. No. 1 at 19-23). Claims 1 and 3

contend Defendants violated Plaintiffs' 1st and 14th Amendment

rights; Claim 2 contends Defendants' deprived Plaintiffs of


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property interests guaranteed them by the 5th and 14th Amendments;

and Claim 4 alleges Defendants violated Plaintiffs' Equal

Protection rights. (Id.). None of these claims assert the rights

of parties not before the Court. Thus, the Court will make no

determination on Defendants' ability to raise the claims of

housing tenants at this time.

III. Mootness of Injunctive Relief Claims

     Defendants next contend that Plaintiffs' claims for

injunctive relief are moot. Specifically, they state that

Plaintiffs' demand that Defendants cease interference with the

exercise of their duties is impossible, because Plaintiffs have

since been removed from their positions. (Rec. Doc. No. 12). This

is unpersuasive. Plaintiffs' case rests on establishing

unconstitutional action by Defendants in preventing Plaintiffs

from carrying out their appointed duties. If Plaintiffs are

successful on the merits, their claims to enjoin the alleged

unconstitutional practices will continue to be a live case and

controversy – eliminating any mootness concerns. See         U.S. Const.

art. III, § 2, cl. 1;    Knox v. Serv. Employees Int'l Union, Local

1000, 132 S. Ct. 2277, 2287 (2012) ("A case becomes moot only

when it is impossible for a court to grant any effectual relief

whatever to the prevailing party.") (emphasis added) (internal

citations omitted).

IV. Burford Abstention


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     In general, federal courts must hear those cases which

Congress has given them authority to hear. Cohens v. Virginia, 6

Wheat. 264, 404 (1821) (federal courts "have no more right to

decline the exercise of jurisdiction which is given, than to

usurp that which is not"). That being said, the Burford

abstention doctrine holds that where sufficient state-court

review is available, federal courts will not interfere with the

work of state administrative agencies:

     (1) when there are "difficult questions of state law bearing
     on policy problems of substantial public import whose
     importance transcends the result in the case then at bar";
     or (2) where the "exercise of federal review of the question
     in a case and in similar cases would be disruptive of state
     efforts to establish a coherent policy with respect to a
     matter of substantial public concern."

New Orleans Pub. Serv., Inc. v. Council of      City of New Orleans,
491 U.S. 350, 361 (1989) (quoting Colorado      River Water
Conservation Dist. v. U. S., 424 U.S. 800,      814 (1976)); see also
Quackenbush v. Allstate Ins. Co., 517 U.S.      706, 730 (1996).

     Although Burford abstention allows for federal courts to

avoid intruding on state matters, the Supreme Court has cautioned

against its overuse. In McNeese v. Bd. of Ed., the Court refused

to abstain in a challenge to a segregated school system, despite

the fact that a state administrative remedy was available. 373

U.S. 668, 674 (1963). The Court found the plaintiffs had alleged

a federal cause of action that was not "entangled in a skein of

state law that must be untangled before the federal case can

proceed" thus making it "immaterial whether [defendants's]



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conduct is legal or illegal as a matter of state law." Id. The

Court further clarified the doctrine in New Orleans Pub. Serv.,

Inc. v. Council of City of New Orleans, noting "[w]hile Burford

is concerned with protecting complex state administrative

processes from undue federal interference, it does not require

abstention whenever there exists such a process . . ." 491 U.S.

350, 362 (1989).

     The Fifth Circuit has recognized five factors for a court to

weigh in determining whether abstention is appropriate:

     (1) whether the cause of action arises under federal or
     state law (finding abstention inappropriate where the case
     did not involve a state-law claim); (2) whether the case
     requires inquiry into unsettled issues of state law, or into
     local facts; (3) the importance of the state interest
     involved; (4) the state's need for a coherent policy in that
     area; and (5) the presence of a special state forum for
     judicial review.

Sierra Club, Inc. v. Sandy Creek Energy Associates, L.P., 627
F.3d 134, 144 (5th Cir. 2010) (quoting Wilson v. Valley Elec.
Membership Corp., 8 F.3d 311, 313 (5th Cir. 1993)).

     Here, the factors decidedly point away from abstention. The

causes of action predominately arise under federal law – 42

U.S.C. § 1983 and various Constitutional provisions. Although

true that Plaintiffs contend violations state law, see (Rec Doc.

No. 1 at 21-22) (alleging violations of the Louisiana State

Constitution and Louisiana Housing Authority Laws), the primary

relief sought is for violations of federal law.




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     Further, there are no unsettled issues of state law present.

On this point, Defendants contend that Plaintiffs had a right to

appeal their removal to a state court. Defendants contend this is

enough to force abstention. However, the fact that a state court

may have authority to review a state based claim does not remove

jurisdiction from federal courts asked to decide issues of

federal constitutional law. McNeese, 373 U.S. at 674. Defendants

do not contend that there are any undecided issues of state law

this Court would be required to resolve in the instant case, thus

this factor dose not counsel in favor of abstention.

     Similarly, the state interest involved appears slight from

an abstention standpoint. Unlike the majority of cases where

abstention has been approved, the instant case does not involve a

state regulatory agency charged with overseeing a major portion

of a state's economy. See, e.g., Burford v. Sun Oil Co., 319 U.S.

315, 320 (1943) (approving abstention where state commission was

in place and where natural resources making up a substantial

portion of state economic revenue was at issue);         Alabama Pub.

Serv. Comm'n v. S. Ry. Co., 341 U.S. 341, 349 (1951) (abstention

proper where state regulatory structure was in place to regulate

railroad passenger service in the state). Any decision from the

Court in the instant case will not disturb important local

necessities or disrupt the state's interest in maintaining




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coherent policies. Thus, is abstention improper.

      Accordingly, and for the reasons articulated above,

     IT IS ORDERED that Defendants' Motion to Dismiss (Rec. Doc.

No. 40) is DENIED without prejudice to reurge in the context of a

summary judgement motion on all outstanding claims, with

supportive documentation.



New Orleans, Louisiana, this 22nd day of October, 2013.




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                                            UNITED STATES DISTRICT JUDGE




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